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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MISSOURI


  In re:                                           )
                                                   )
  INTERSTATE UNDERGROUND                           ) Case No. 21-40834-DRD
  WAREHOUSE AND INDUSTRIAL                         )
  PARK, INC.,                                      ) Chapter 11
                                                   )
                          Debtor.                  )




                                 CERTIFICATE OF SERVICE

           The undersigned certifies that the following documents were served on all creditors and

 parties in interest via electronically to those parties who have entered an appearance in the Court’s

 Electronic Court Filing (ECF) system and served conventionally upon any parties who have

 requested notice that are not participating in the ECF system together with the parties listed on the

 creditor mailing matrix maintained by the Bankruptcy Court by depositing same in U.S. mail via

 first class, postage prepaid, this 2nd day of July, 2021.


              1. Voluntary Petition, Schedules A/B, D, E/F, G, H, Summary of Assets and Liabilities,
                 Statement of Financial Affairs [ECF No. 1]

              2. Debtors’ Application for Entry of an Order Authorizing the Retention and
                 Employment of Armstrong Teasdale LLP as Attorneys for the Debtor and Debtor
                 in Possession Nunc Pro Tunc to the Petition Date [ECF No. 12]

              3. Debtor’s Motion for Entry of Interim and Final Orders Determining Adequate
                 Assurance of Payment for Future Utility Services [ECF No. 14]

              4. Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing the
                 Continued Use of the Debtors’ Existing Cash Management System; (B Authorizing
                 Use of Existing Bank Accounts and Business Forms; (and (C) Granting Related
                 Relief [ECF No. 15]

              5. Debtors' Motion for Interim and Final Orders Authorizing the Debtor to Utilize
                 Cash Collateral [ECF No. 16]
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         6. Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing Debtors to
            Pay Prepetition Wages and Workforce Obligations, (B) Authorizing Debtors to
            Maintain Workforce Programs and Pay Related Obligations, and (C) Granting
            Related Relief [ECF No. 17]

         7. Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing the Debtors
            to (I Maintain, Continue, and Renew Their Existing Insurance Program and
            (II) Honor Certain Prepetition Obligations in Respect Thereof and (B) Granting
            Related Relief [ECF No. 18]

         8. Declaration of Leslie Reeder in Support of Debtor’s First Day Motions [ECF No.
            19]

         9. Notice of Application for Authority to Employ Armstrong Teasdale LLP as
            Attorneys for the Debtor and Debtor-in-Possession [ECF No. 20]

         10. Debtors’ Motion for Entry of an Order (A) Scheduling Expedited Hearings on
             Certain First Day Motions and Applications, (B) Approving the Form and Manner
             of Notice Thereof, and (C) Granting Related Relief [ECF No. 21]




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  Dated:   July 2, 2021             Respectfully submitted,
           Kansas City, Missouri    ARMSTRONG TEASDALE LLP

                                     /s/ Pamela Putnam
                                    Pamela Putnam, MO 61158
                                    2345 Grand Blvd. Suite 1500
                                    Kansas City, MO 64108
                                    Telephone: (816) 221-3420
                                    Facsimile: (816) 221-0786
                                    Email: pputnam@atllp.com

                                    - and -

                                    Richard W. Engel, Jr., MO 34641
                                    Erin M. Edelman, MO 67374 (admitted pro hac vice)
                                    ARMSTRONG TEASDALE LLP
                                    7700 Forsyth Boulevard, Suite 1800
                                    St. Louis, Missouri 63105
                                    Telephone: (314) 621-5070
                                    Facsimile: (314) 612-2239
                                    Email: rengel@atllp.com
                                    Email: eedelman@atllp.com

                                    Proposed Counsel to the Debtor




                                               3
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1501 Condo LLC                    21C Museum                          2Fold Supply
9339 Tomashaw Lane                107 E 9th St, Suite 200             13665 E. 42nd Terr, Suite F
Lenexa, KS 66219                  Kansas City, MO 64105               Independence, MO 64055



A Plus Heating and Cooling        AAA Moving and Storage              ABC Auto
9703 E. 20 ST South               PO Box 23038                        311 NE Parks Edge Place
Independence, MO 64052            Overland Park, KS 66283             Lees Summit, MO 64064



ACE LOCK                          ACE RADIATOR                        ACORN PRODUCTS
11321 E US 40 HWY                 9304 E US 40 HWY                    P O BOX 461
INDEPENDENCE MO, 64055            INDEPENDENCE MO 64055               LIBERTY, MO 64069


                                  AFLAC ATTN: REMITTANCE
ADVANCE AUTO                                                          Ahmed Abdelghany
                                  PROCESSING SERVICES
7806 E WINNER RD                                                      7622 E 90th Street
                                  1932 WYNNTON ROAD
KANSAS CITY, MO 64125                                                 Kansas City, MO 64138
                                  COLUMBUS, GEORGIA 31999-0797


AIRGAS                            Alan Bitterman                      Alan Robinson II
PO BOX 734671                     12624 Glenwood                      9005 Manning Ave
DALLAS, TX 75373-4671             Overland Park, KS 66209             Raytown, MO 64138



Aliff Construction                All Environmental, Inc.             ALLPRO AUTO & COLLISION
1100 NE 45th Street               11756 Borman Dr. Ste. 200           1100 S. STERLING
Kansas City, MO 64116             St. Louis, MO 63146                 INDEPENDENCE, MO 64054-1651



AMERIGAS                          Amina Ricca                         Andy Brown
P O BOX 660288                    2980 Baltimore St. #2201            13426 Wood River
DALLAS, TX 75266-0288             Kansas City, MO 64108               Kearney, MO 64060



Angelica Svendsen                 Anthony Mange                       Ashley Morgan
26104 E. 227th Street             PO Box 413134                       2980 Baltimore Ave. #2305
Harrisonville, MO 64701           Kansas City, MO 64111               Kansas City, MO 64108



AVID COMMUNICATIONS LLC           BACHKORA & ASSOCIATES               BAKER STERCHI COWDEN & RICE
PO BOX 414800                     7608 RAYTOWN RD                     SUITE 500 2400 PERSHING ROAD
KANSAS CITY, MO 64141             RAYTOWN, MO 64138                   KANSAS CITY MO 64108



Batliner                          BB Machine Tool LLC                 BDR Guttering
P O BOX 856651                    1701 SW Timberline Rd               326 Ash Ave
MINNEAPOLIS, MN 55485-6651        Oak Grove, MO 64075                 Independence, MO 64053
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Bell Masonry                       Bess Lamoreaux                      BEST BATTERIES, LLC
4121 W. 83rd St, #151              5924 Charlotte St                   1112 SWIFT AVENUE
 Prairie Village, KS 66208         Kansas City, MO 64110               NORTH KANSAS CITY, MO 64116



Bird's Botanicals                  BLACK & MCDONALD                    Blast Inc.
1404 SW 24th Street                6001 E. FRONT ST                    8201 E. 23rd Street
 Blue Springs, MO 64015            KANSAS CITY, MO 64120                Kansas City, MO 64129


BODINE-ASHNER BUILDERS                                                 BUKATY COMPANIES
                                   Brad Zelfer
LEGACY, LLC                                                            4601 COLLEGE BLVD
                                   17311 East US Hwy 40 Lot A42
13401 MISSION ROAD                                                     STE 100
                                   Independence, MO 64058
LEAWOOD, KS 66209                                                      LEAWOOD, KS 66211


BUSINESS BY PROMOTION              C.E.S.                              CADRE TECHNOLOGIES
923 NE WOODS CHAPEL RD #170        13665 E 42ND TERR S STE C           P O BOX 809275
 LEE'S SUMMIT, MO 64064            INDEPENDENCE, MO 64055              CHICAGO, IL 60680-9275



CAMILLE EKLOF                      Candyman Services                   Cargill Global Business Services
5006 LOCUST ST.,                   800 SE Hocker Court                 PO Box 6034
SMITHVILLE, MO 64089                Lees Summit, MO 64081              Fargo, ND 58108


                                   CBD INVESTMENTS, LLC
Carpenter Vending Service                                              CDS
                                   UNIT 805 4740 ROANOKE
1449 Outer Road, Lot #15                                               9095 Bond Street
                                   PARKWAY
 Bates City, MO 64011                                                   Overland Park 66214
                                   KANSAS CITY, MO 64112


                                                                       CHARLES D. JONES COMPANY
Central Missouri Reload            CENTURY TECHNOLOGY
                                                                       P O BOX 9010
PO Box 268                         12317 Rosewood Overland Park,
                                                                       SHAWNEE MISSION, KS 66201-
Blue Springs, MO 64013             KS 66209
                                                                       1610


Charles Ellis                      Chartity Thrift Mart                CHEMICAL SPECIALTIES, INC
7706 52nd Terr                     829 W Clark St                      PO BOX 27095
 Kansas City, MO 64129              Bartlett, TX 76511                 OVERLAND PARK, KS 66205



Christopher Elbow Chocolates       CIT                                 Citizen's Bank & Trust
1819 McGee Street                  21146 NETWORK PLACE                 8405 N. Oak Trafficway
 Kansas City, MO 64108              CHICAGO IL 60673-1211              Kansas City, MO 64153


                                                                       CITY TREASURER FIRE
CITY OF KANSAS CITY MISSOURI       City of Kansas City, Missouri
                                                                       PREVENTION DIVISION
P O BOX 801751                     414 E. 12th Street
                                                                       635 WOODLAND AVE, SUITE 2103
KANSAS CITY, MO 64180-1751         Kansas City, MO 64106
                                                                       KANSAS CITY, MO 6416
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CLAYCO ELECTRIC                   Clean Solutions Janitorial Supplies   CLEAN SOLUTIONS JANITORIAL
319 E 11TH AVE NORTH              PO Box 27095                          PO BOX 27095
KANSAS CITY, MO 64116             Overland Park, KS 66225               OVERLAND PARK, KS 66225



Cliff Rush                        Clinton Todd                          COLEMAN EQUIPMENT INC.
19170 East Yocum Rd.              80 Park Plaza                         15905 E 23rd ST
Independence, MO 64058             Lexington, MO 64067                  INDEPENDENCE MO 64055


                                                                        CROWN PACKAGING
COPY-RITE                         Craig D. Hill
                                                                        17854 CHESTERFIELD AIRPORT
4004 STERLING                     2011 W. 162nd Terr
                                                                        RD
KANSAS CITY, MO 64133             Stilwell, KS 66085-8426
                                                                        CHESTERFIELD, MO 63005


                                  CUSTOM REFRIGERATION
Curtis Koons                                                            Custome Cabinets
                                  SOLUTIONS
1900 Mersington Ct.                                                     12205 E 46th Terr
                                  712 SW 6TH STREET
Kansas City, MO 64127                                                   Independence, MO 64055
                                   LEE'S SUMMIT MO. 64081


Cyrus Contractor                  DAVE NETZ                             David Young
9339 Tomashaw Lane                18204 E. 18TH TERR N.                 901 NE Sunshine Ct
Lenexa, KS 66219                   INDEPENDENCE, MO 64058                Lees Summit, MO 64064



DAY STAR                          DELTA DENTAL                          DELTA VISION
PO BOX 34648 N.                   P.O. BOX 790320                       P O BOX 8510
KANSAS CITY, MO 64116             ST LOUIS, MO 63179                    ST LOUIS, MO 63126-0510



Diversified Avacado Products      Division of Fire Safety               Dollars For U
3 Eastridge                       P O Box 1421                          3623 W. 76th St
 Coto De Caza, CA 92679           Jefferson City, MO 65102               Prairie Village, KS 66208



DOOR SYSTEMS                      Doug Hauser DBA KC Classic Cars       Doug Hecker
507 SW LEA DRIVE                  1712 NE 113th Street                  1833 Wellesley Ct
LEE'S SUMMIT, MO 64081             Kansas City, MO 64155                 Liberty, MO 64068



Drew Kimmell                      E3 HR, INC                            ELECTRIC SERVICE COMPANY
8252 E. Panama Rd                 121 SUMMIT AVE STE 201                1720 KANSAS STREET
 Nevada, MO 64772                 SUMMIT, NJ 07901                      KANSAS CITY, MO 64127


                                  ENCORE PROPANE - KANSAS
EMPLOYEE FIDUCIARY, LLC                                                 Engel Motors
                                  CITY
P O BOX 3144                                                            6633 Truman Road
                                  7440 NW River Park DR
MOBILE, AL 36652                                                         Kansas City, MO 64126
                                  Parkville, MO 64152
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                                                                      EVERGY -
Erazo Enterprises                 Eric Schulte
                                                                      8680-36-3278
17823 Greentree Ave               2940 Baltimore Ave. #1503
                                                                      PO BOX 219330
 Independence, MO 64057           Kansas City, MO 64108
                                                                       KANSAS CITY, MO 64121-9330


EVERGY 3852                       EVERGY                              EVERGY-MAIN
P O BOX 219330                    P O BOX 219330                      P O BOX 219330
KANSAS CITY, MO 64121             KANSAS CITY, MO 64121-9330          KANSAS CITY, MO 64121-9330



Extrusions                        FASTENAL COMPANY                    FED EX
PO Box 430                        PO BOX 978                          PO BOX 94515
Ft. Scott, KS 66701               WINONA, MS 55987-0978               PALATINE,IL 60094-4515


FLOYD ANDERSON C/O PETE
                                  FNBO-DENNIS                         FNBO-JERRY
SMITH MCDOWELL RICE
                                  P O BOX 2818                        P O BOX 2818
605 W 47ST, SUITE 350
                                  OMAHA, NE 68103                     OMAHA, NE 68103
KANSAS CIY, MO 64112


FNBO-JOE                          FNBO-MICHAEL                        Fresh Start Natural Foods, Inc.
P O BOX 2818                      P O BOX 2818                        PO Box 4730
OMAHA, NE 68103                   OMAHA, NE 68103                     Foster City, CA 94404


                                                                      GRAINGER DEPARTMENT
Friends of Yates                  Gary Sisk
                                                                      804739530
1418 Garfield Ave                 7996 Johnson Dr.
                                                                      PO BOX 419267
 Kansas City, KS 66104            Odessa, MO 64076
                                                                      KANSAS CITY, MO 64141


GRP LLC                           GUARDIAN                            H & W FORKLIFT
3141 Topping Ave                  P O BOX 677458                      7405 EAST 12TH STREET
 Kansas City, MO 64129            DALLAS, TX 75267-7458               KANSAS CITY, MO 64126



H W FORKLIFT                      HAMPEL OIL, INC.                    HARBOR FREIGHT TOOLS
7405 E 12TH ST                    PO BOX 12346                        4368 SOUTH NOLAND ROAD
KANSAS CITY, MO 64126             WICHITA, KS 67277                   INDEPENDENCE MO. 64055



HARTFORD                          HEARTLAND                           Heavy Metal Industries
P O BOX 660916                    ONE HEARTLAND WAY                   4623 Ridgeway Ave
DALLAS, TX 75266-0916             JEFFERSONVILLE, IN 47130             Kansas City, MO 64133



Henrik Svendsen                   HEUBEL RAYMOND                      HOOK N HAUL DUMPSTERS
26104 E. 227th Street             P O BOX 870975                      704 HARRINGTON ST
Harrisonville, MO 64701           KANSAS CITY, MO 64187-0975          DEARBORN, MO 64439
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Hubal Express LLC                  HUMANA INSURANCE CO                 Ian G. Young
PO Box 34794                       P.O BOX 4600                        2980 Baltimore Ave. #2105
Kansas City, MO 64116              CAROL STREAM, IL 60197-4600         Kansas City, MO 64108



Idredge                            IMAGE QUEST                         IMB EL LLC/FAO John Norman
PO Box 1286                        11106 STRANG LINE ROAD              11 Madison Ave, 17th Floor
Louisburg, KS 66053                LENEXA, KS 66215                     New York, NY 10010



Ime O Ette                         INDEPENDENCE HYDRAULICS             Internal Revenue Service
1609 Wickford Drive                7375 Northern Blvd.                 PO Box 7346
 Arlington, TX 76018               Independence, MO 64053              Philadelphia, PA 19101-7346



IPFS                               Jack Bilt Corp                      Jack-bilt
24722 Network Place                8201 E. 23rd Street                 8201 E. 23rd st Dock 22
Chicago, IL 60673-1247              Kansas City, MO 64129              Kansas City, MO 64129



JACKSON COUNTY COLLECTOR           James Wilson                        JDI Concrete
P O BOX 219747                     4216 W. 73rd Terrace                PO Box 25432
KANSAS CITY, MO 64121-9747         Prairie Village, KS 66208            Kansas City, MO 64119



Jim Shockey                        Jim Voelk                           JIMCO PRODUCTS INC
604 East 23rd St. South            16901 SE MM Hwy                     101 JIMCO DRIVE
Independence, MO 64055              Dearborn, MO 64439                 HOLLISTER, MO 65672



Joe Gicinto                        John Carnes                         John Hersma
4507 W. 90th                       222 West Maple Ave.                 933 MCGee #102
 Prairie Village, KS 66207         Independence, MO 64050               Kansas City, MO 64106


                                   JOHNSON CONTROLS FIRE
JOHNSON CONTROLS                                                       JOHNSTONE SUPPLY
                                   PROTECTION
P O BOX 371967                                                         1760 W 29TH STREET
                                   11019 Strang Line Rd.
PITTSBURGH, PA 15250-7967                                              KANSAS CITY, MO 64108
                                   Lenexa, KS 64129


Jonathan Elliot                    Jonathan Justus, Justus Drugstore   Justus Drugstore
5090 Glinnside Dr                   5006 Locust St.                    5006 Locust
 Kansas City, MO 64129             Smithville, MO 64089                 Smithville, MO 64089



K C BOBCAT                         K C WATER SERVICES                  K D FASTENER
1450 S E US 40 HWY                 P O BOX 807045                      P O BOX 28252
BLUE SPRINGS, KS 64104             KANSAS CITY, MO 64180-7045          GLADSTONE, MO 64188
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KAV Service c/o Ken-A-Vision       KC Cold Storage                     KC Munchies
5615 Raytown Rd                    8201 E. 23rd Street                 21205 W. 181 Terr
 Kansas City, MO 64133             Kansas City, MO 64129                Olathe, KS 66062


                                                                       KCMO City Treasurer
KC MUNCHIES, LLC                   KC Raceware
                                                                       Finance Dept
1007 SE DOVER DRIVE                5025 Rosewood Dr
                                                                       P.O. Box 801751
LEES SUMMIT, MO 64081               Roeland Park, KS 66205
                                                                       Kansas City, MO 64180-1751


KCMO WATER - 193-8                 KCMO WATER                          KCMO WATER SERVICES
P O BOX 807045                     P O BOX 807045                      P.O. BOX 219896
KANSAS CITY, MO 64180-7045         KANSAS CITY, MO 64180-7045          KANSAS CITY, MO 64121-9896



KCMO WATER SERVICES                KD FASTENER                         KD Supplies
PO BOX 807045                      PO BOX 28252                        200 Prairie Rose Circle
KANSAS CITY MO 64180-7045          KANSAS CITY, MO 64188                Smithville, MO 64089



Kelly and Peter Loughead           Ken-A-Vision                        Kenneth Cassway
6300 McCarran St 1099              5615 Raytown Rd                     10610 E. 43rd St
 Las Vegas, NV 89081               Kansas City, MO 64133               Kansas City, MO 64133



Kevin Tee                          Kimberly Benson                     King Towing
311 Emmanuel Cleaver II Blvd       17713 Dakota Drive                  10811 E. 27th St
 Kansas City, MO 64112             Independence, MO 64056               Independence, MO 64052


                                   KLINE VAN AND SPECAILTY
KLEMP ELECTRIC                                                         Larry Lurks/Mobile Enterprises LLC
                                   RENTAL, LLC
739 CENTRAL AVE                                                        5608 College
                                   1503 WASHINGTON ST.
KANSAS CITY,KS 66101                                                   Kansas City, MO 64130
                                   CHILLICOTHE, MO 64601


                                   LARRY WEILERT                       LIFT TRUCK SALES & SERVICE,
LARRY MCCUBBIN
                                    CUSTOM SLEEP CENTER                INC.
1004 OAKVALE
                                   11315 E. 40 HIGHWAY                 2720 NICHOLSON
HARRISONVILLE, MO 64701
                                    INDEPENDENCE, MO 64055             KANSAS CITY, MO 64120


Lori Lee                           M and R Auto                        MANAGER OF FINANCE
538 Sarah Lane                     6600 Blue Parkway, Lot D11          PO BOX 219747
Liberty, MO 64068                  Kansas City, MO 64129               KANSAS CITY, MO 64121-9747



Mark Nelson                        MARMIC FIRE & SAFETY CO. INC        MARTIN LEIGH ATTORNEYS
1310 E. 104th St. Ste. 300         P O BOX 1939                        SUITE 410 2405 GRAND BLVD
Kansas City, MO 64131              LOWELL, AR 72745                    KANSAS CITY, MO 64108
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                                         MARTIN, LEIGH, LAWS &
MARTIN MECHANICAL                                                         MATHESON TRI-GAS INC
                                         FRITZLEN
1419 E 19TH ST                                                            6000 E FRONT ST
                                         400 PECK'S PLAZA
KANSAS CITY, MO 64108                                                     KANSAS CITY, MO 64120
                                         KANSAS CITY, MO 64105


MCDOWELL, RICE, SMITH                                                     MID-STATES SUPPLY COMPANY,
                                         Michael Brady
SKELLY                                                                    INC.
                                         16845 W. 161st Terr
BLDG 605 W 47TH ST SUITE 350                                              PO BOX 804482
                                         Olathe, KS 66062
KANSAS CITY, MO 64112-1900                                                KANSAS CITY, MO 64180


MIDWEST EMERGENCY MEDICAL                                                 Missouri Department of Revenue
                                         MIDWEST POWER INDUSTRIES
SERV                                                                      Harry S. Truman State Office Building
                                         2103 Forest Ave
P O BOX 11157                                                             301 West High Street
                                         Kansas City, MO 64108
KANSAS CITY, MO 64119-0157                                                Jefferson City, MO 65101

                                         MO DEPT OF HEALTH AND
Missouri Northern Pecan Growers LLC      SENIOR SERVICES                  MO DEPT OF REVENUE
3011 E. Austin Blvd                      912 WILDWOOD                     PO BOX 840
Nevada, MO 64772                         PO BOX 570                       JEFFERSON CITY, MO 65105
                                         JEFFERSON CITY, MO 65102

                                         MO. DEPT. OF REVENUE
MO DEPT. OF REVENUE                                                       MODERN FIRE SAFETY
                                         TAXPAYER SERVICES BUREAU
PO BOX 3390                                                               212 W 72ND STREET
                                         PO BOX 385
JEFFERSON CITY, MO 65105-3390                                             KANSAS CITY, MO 64114
                                         JEFFERSON CITY, MO 65105


Moharam Wahed                            MR. TIRES                        MTAC Companies c/o Aaron Heilman
11814 W. 100th Terrace                   8631 EAST 24 HIGHWAY             7300 W. 101st St
Overland Park, KS 66214                  KANSAS CITY, MO 64125             Overland Park, KS 66212


MUNICIPAL COURT 16th Judicial
                                         MVB Meat Co.                     MY DUMPSTER GUY LLC
Circuit
                                         9516 Belleview Ave               709 MAIN ST
P O BOX 219381
                                          Kansas City, MO 64114           GRANDVIEW, MO 64030
KANSAS CITY, MO 64121-9381


NEENAN COMPANY                           NEENAN COMPANY                   Newlywed Foods
P O BOX 300408                           PO BOX 300408                    PO Box 39357
KANSAS CITY, MO 64130                    KANSAS CITY MO 64130             Chicago, IL 60639



NORTH KANSAS CITY HOSPITAL               OFFICE DEPOT, INC                Office of the United States Trustee
P O BOX 504654                           PO BOX 633211                    400 East 9th Street, Room 3440
ST LOUIS, MO 63150                       CINCINNATI, OH 45263-3211        Kansas City, MO 64106



One Hour Carpet                          OPTIMA LLC                       Park Reserve HOA
PO Box 7442                              12424 W 62 TERR                  PO Box 677
Shawnee Mission, KS 66207                SHAWNEE, KS 66216                Lees Summit, MO 64081
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PAUL L. HILPMAN                    PAYCHEX, INC                      PDF Architectural Group
3204 NW KAREN ROAD                 13160 FOSTER STREET. STE 130      3199 Mercier St
 KANSAS CITY, MO 64151             OVERLAND PARK, KS 66213            Kansas City, MO 64111



Perfect Drywall                    Perishable Distribution of Iowa   PETE MEDINA NOVA TECH
5207 Overton Circle                2741 SE PDI Place                 1016 S E HAMBLEN RD #7
 Kansas City, MO 64133              Ankeny, IA 50021                  KANSAS CITY, MO 64081


PHILIP KLAWUHN                                                       Pitney Bowes Global Financial
                                   Pioneer Village
SUITE 100 10150 N AMBASSADOR                                         Services
                                   1519 6th Street
DRIVE                                                                PO BOX 371874
                                   Bakersfield, cA 93304
KANSAS CITY, MO 64153                                                Pittsburgh, PA 15250-7887


PITNEY BOWES RESERVE               PITNEY BOWES-PURCHASE
                                                                     PRAXAIR DEPT
ACCOUNT                            POWER
                                                                     1608 Holmes Street
PO BOX 952856                      PO BOX 856042
                                                                     Kansas City, MO 64108
ST. LOUIS MO 63195                 LOUISVILLE, KY 40285


PRESTO X                           Pro Foundation                    Q10 CAPITAL SERVICING LLC
PO BOX 13848                       8201 E. 23rd St.                  111 SOUTH MAIN STE 1600
READING, PA 19612-3848             Kansas City, MO 64108              SALT LAKE CITY, UT 84111



QAS Vending                        QB Management LLC                 Quest Development
11415 Minor Drive                  3800 Fremont Ave                  2301 8th Ave NE #120
Kansas City, MO 64114               Kansas City, MO 64129             Aberdeen, SD 57401



QUITMEIER LAW FIRM                 RC-N-1 Inc.                       RDS EQUIPMENT INC
10150 Ambassador Dr. Ste. 100      PO Box 2191                       3415 BLUE RIDGE CUTOFF
Kansas City, MO 64153              Independence, MO 64055            INDEPENDENCE, MO 64055



REARDON PALLET COMPANY INC         RECLAMATION TECHNOLOGIES          Reclamation Technologies
P O BOX 25610                      10005 FLANDERS COURT NE           10005 Flanders Ct NE
KANSAS CITY, MO 64102-5610          BLAINE, MN 55449                  Blaine, MN 55449



REDDI SERVICES KC                  REEVES-WIEDEMAN CO                Refreshments LLC/Spatula Central
4011 BONNER INDUSTRIAL DR          3635 MAIN ST                      1450 W. Geo Space Dr.
SHAWNEE KANSAS 66226               KANSAS CITY, MO 64111              Independence, MO 64056



REFRIGERANTS, INC                  Renew Wireless Inc.               REPUBLIC SERVICES
2575 WEST BABERRY PLACE            7111 W. 151st St, #352            PO BOX 9001099
DENVER, CO 80204                   Overland Park, KS 66223           LOUISVILLE, KY 40290-1099
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Resolution Re-Use                 Restoration Spanish Translations Inc.   Richard Coffie
9320 E. 27th St South             2500 S. Seminole Dr                     700 Shawnee
 Independence, MO 64052            Independence, MO 64057                  Leavenworth, KS 66048



RICHARD TURNER                    RMH SYSTEM                              Robert Stout
1519 6TH ST                       P.O BOX 3251                            827 S. Home Ave
BAKERSFIELD, CA 93304             OMAHA, NE 68103-0251                     Independence, MO 64053



Robert Taylor                     Roderick Reed                           ROLL EASY DOOR
118 W. 52 Street                  11320 Indiana                           2922 TERRACE STREET
Kansas City, MO 64112              Kansas City, MO 64137                  KANSAS CITY, MO 64108



Royal Bedding                     RUSH CREEK PROPERTIES                   Saab Doctor
7415 NO Liberty St                SUITE 111 17815 FOSTER RD               1908 NW Harbor Place
 Kansas City, MO 64118            LIBERTY, MO 64068                        Blue Springs, MO 64015



SAC River Construction            Sam Mulla                               Sammy Jo Reeder
211 S. Beach                      12120 State Line Road                   7515 Gibralter
 Appleton City, MO 64724           Leawood, KS 66209                      Carlsbad, CA 92009


                                                                          Schlee Huber McMullen Mcarthy
SAMS CLUB                         SCC Inc
                                                                          Hansen
4100 South Bolger Road            PO Box 860730
                                                                          4050 Pennsylvania, # 300
Independence, MO 64055            Shawnee, KS 66286-0730
                                                                           Kansas City, MO 64171


Schreifels Enterprises LLC        Sea Fare Foods Corp                     SERVICEMASTER DSI
4405 NE 103rd CT                  3073 Oakraider Dr                       2400 WISCONSIN AVE
Kansas City, MO 64156              Alamo, CA 94507                        DOWNER'S GROVE, IL 60515



SHAWNEE COPY CENTER               SHERWIN WILLIAMS COMPANY                SHOPPA MID AMERICA
PO BOX 3915                       8602 EAST 63RD STREET                   1301 N. CORRINGTON AVE.
SHAWNEE, KS 66203-0915            KANSAS CITY, MO 64133                   KANSAS CITY, MO 64120



Show Me Fundraising               Sipcam Agro USA Inc                     SIR Fabricators
2111 Shelby St                    2525 Meridian Pkwy, #350                17 NW 86th Terr
 Higginsville, MO 64037           Durham, NC 27713                        Kansas City, 64155



SPRINT                            STACY ROBINSON                          Star Companies
PO BOX 4181                       32130 HARBORVIEW LANE                   PO Box 1963
CAROL STREAM, IL 60197-4181       WESTLAKE VILLAGE, CA 91361              Lees Summit, MO 64063
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STATE FARM INSURANCE              Steve Blades                         Steve Mosley
PO BOX 680001                     3405 Baltimore Ave                   18409 Hanthorn Ave
DALLAS, TX 75368-0001             Kansas City, MO 64111                Independence, MO 64057



Steve Wells                       Stream Lake and Wetlands Solutions   Structurflex
902 W. Liberty Drive, Ste B       PO Box 1286                          414 Oak St, Suite 101
Liberty, MO 64068                 Louisburg, KS 66053                  Kansas City, MO 64106



Summit Boats and Gear             SUTHERLAND LUMBER CO.                TAO LI
1012A NE Jib Ct,                  6709 BLUE RIDGE BLVD                 6122 E. 129th St,
Lees Summit, MO 64064             RAYTOWN, MO 64133                    Grandview, MO 64030



The Redwood Group                 THE WALDINGER CORPORATION            TIRE CENTERS, INC
5920 Nail Ave. #400               1800 E LEVEE STREET NORTH            4421 GARDNER AVE
Mission, KS 66202                 KANSAS CITY, MO 64116-4405           KANSAS CITY, MO 64120


TOMPKINS INDUSTRIES                                                    TRIAD CAPITAL ADVISORS
                                  Tony Gurley                          ATTN: LYNETTE CHASTAIN
75 REMITTANCE DRIVE SUITE
                                  14507 E. 40th St South               4400 SHAWNEE MISSION
6210
                                  Independence, MO 64055               PARKWAY SUITE 209
CHICAGO, IL 60675-6210
                                                                       SHAWNEE MISSION, KS 66205

TYCO INTEGRATED SECURITY          U-HAUL                               ULINE
PO BOX 371967                     4312 S NOLAND RD                     P O BOX 88741
PITTSBURG, PA 15250-7967          INDEPENDENCE, MO 64055               CHICAGO, IL 60680-1741


VAC- CON Services d/b/a Red
                                  Vino Leonardo Imports                Vogler & Associates, LLC
Equipment Co
                                  8201 E. 23rd Street                  11756 Borman Dr.
5206 E. 9th St
                                  Kansas City, MO 64129                St. Louis, MO 63146
Kansas City, MO 64124


Wakarusa Valley Farm              Wal-Mart Stores East LP              Warehouse-Lighting.com Inc
965 E. 1000 Rd,                   5100 Brookhart Drive                 615 South 89th ST
Lawrence, KS 66047                Harrisonville, MO 64701              Milwaukee, WI 53214


                                  Woodmen of the World
Wayne Reeder                                                           Woople
                                  Q10 Triad Capital Advisors
600 E. Admiral Blvd. #2001                                             400 N. Missouri St
                                  4622 Pennsylvania Ave. Ste. 810
Kansas City, MO 64106                                                  Liberty, MO 64068
                                  Kansas City, MO 64112

                                                                       ZEP SALES & SERVICE
YARDI SYSTEMS, INC                YELLOW FREIGHT                       13237 COLLECTIONS CENTER
P O BOX 82572                     PO BOX 730333                        DRIVE
GOLETA, CA 93118-2572             DALLAS, TX 75373                     CHICAGO, IL 60693
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Great Western Bank
225 S. Main Ave.
Sioux Falls, SD 57104
